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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

    ED BUTOWSKY,                                     §
                                                     §
           Plaintiff,                                §
    V.                                               §      CASE NO. 4:18-cv-00442-ALM
                                                     §
    DAVID FOLKENFLIK; NPR, INC.;                     §
    NPR.ORG; JARL MOHN; STACEY                       §
    FOXWELL; MICHAEL ORESKES;                        §
    CHRISTOPHER TURPIN; EDITH                        §
    CHAPIN; LESLIE COOK; HUGH                        §
    DELLIOS; PALLAVI GOGOI; and                      §
    SARAH GILBERT,                                   §
                                                     §
           Defendants.                               §


                                 EXHIBIT LIST TO SUR-REPLY

   Exhibit A      Declaration of Laura Lee Prather

         Exhibit A-1.     Ty Clevenger LawFlog Blogpost entitled “Why won’t Seth Rich’s brother
                          authorize Wikileaks to tell what it knows?” dated June 11, 2018

         Exhibit A-2.     Email from Ty Clevenger to Bill Binney, Kirk Wiebe and Butowsky dated
                          June 27, 2019 (BINNEY 00009)

         Exhibit A-3.     Email from Butowsky to Wheeler dated May 16, 2017 encouraging
                          Wheeler to re-sign an altered copy of the contract (WHEELER 0000348-
                          49)

         Exhibit A-4.     Dkt. 54-1, Butowsky’s Motion to Dismiss in Joel & Mary Rich v. Fox
                          News, et al., Civil Action No. 1:18-cv-2223 pending in the U.S. District
                          Court, Southern District of New York

         Exhibit A-5.     Email from Butowsky to Joel Rich dated March 3, 2017 in which
                          Butowsky sends Joel Rich the agreement for Wheeler. (BUTOWSKY
                          0000473-76)

         Exhibit A-6.     Emails between Joel Rich and Butowsky from February 28, 2017 through
                          March 3, 2017 (BUTOWSKY 0000978-80)

         Exhibit A-7.     Emails between Butowsky and Joel Rich dated March 3-5, 2017
                          (BUTOWSKY 0000456-57)


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        Exhibit A-8.    Text messages between Butowsky and Wheeler dated March 6, 2017
                        (WHEELER 0000903)

        Exhibit A-9.    Email from Joel Rich to Butowsky enclosing the signed agreement dated
                        March 14, 2017 (BUTOWSKY 0000574)

        Exhibit A-10.   Emails between Joel Rich and Butowsky with Butowsky promising results
                        from the Wheeler investigation dated March 12-13, 2017 (BUTOWSKY
                        0000910)

        Exhibit A-11.   Email from Butowsky to Zimmerman, Wheeler, and Adam Housley dated
                        March 29, 2017 commanding a four-way Zoom meeting (WHEELER
                        0000177)

        Exhibit A-12.   Emails between Butowsky, Wheeler, and Zimmerman (WHEELER
                        0000039, 47, 98, 159, and 182)

        Exhibit A-13.   Email from Butowsky to Wheeler regarding Wheeler’s upcoming
                        interview with DC Detective DellaCamera dated April 23, 2017
                        (BUTOWSKY 0000068)

        Exhibit A-14.   Email from Butowsky to Zimmerman and Wheeler instructing them not to
                        contact Sy Hersh dated March 8, 2017 (BUTOWSKY 0000442-43)

        Exhibit A-15.   Text messages between Butowsky, Wheeler, and Kash Patel (aka Dee O.)
                        in which Butowsky repeatedly insists that Wheeler meet with Patel dated
                        April 27, 2017 – May 4, 2017 (WHEELER 0000877-80)

        Exhibit A-16.   Text messages between Butowsky, Wheeler and Kash Patel (aka Dee O.)
                        in which Butowsky repeatedly insists that Wheeler meet with Patel dated
                        April 27, 2017 – May 4, 2017 (WHEELER 0000940-41)

        Exhibit A-17.   Email from Butowsky to Zimmerman and Wheeler enclosing background
                        information on Seth Rich’s girlfriend, Kelsey Mulka and her parents dated
                        March 13, 2017 (BUTOWSKY 0000061-62)

        Exhibit A-18.   Emails between Butowsky and Zimmerman in which Butowsky says:
                        “Let’s see if Kelsey has something for us” dated March 30, 2017
                        (BUTOWSKY 0000066)

        Exhibit A-19.   Email from Butowsky to Sy Hersh inviting Hersh to lunch dated April 20,
                        2017 (BUTOWSKY 0000296)

        Exhibit A-20.   Emails between Butowsky and Sy Hersh in which Hersh corrects
                        Butowsky on his mistaken assumptions about their prior conversation
                        dated May 5, 2017 (BUTOWSKY 0000992)



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        Exhibit A-21.   Emails between Butowsky and Sy Hersh in which Hersh corrects
                        Butowsky on his mistaken assumptions about their prior conversation
                        dated June 2, 2017 (BUTOWSKY 0000871)

        Exhibit A-22.   Emails between Butowsky and Sy Hersh in which Butowsky asks Hersh
                        for the name of his alleged source dated June 2, 2017 through June 27,
                        2017 (BUTOWSKY 0000869)

        Exhibit A-23.   Email from Butowsky dated March 4, 2017 with draft of article including
                        Wheeler quotes that need to be confirmed. “He might want some of these
                        to not be attributed to him” (BUTOWSKY 0000340-43)

        Exhibit A-24.   Email from Zimmerman to Butowsky and Wheeler asking them to “ask
                        your sources” a list of questions for confirmation prior to reporting in the
                        Fox News article dated May 11, 2017 (BUTOWSKY 00001180)

        Exhibit A-25.   Email from Butowsky to Fox News executives, producers and on-air talent
                        claiming to “actually [be] the one who’s been putting [the Seth Rich story]
                        together” dated May 15, 2017 (WHEELER 0000493-99)

        Exhibit A-26.   Emails between Butowsky and Zimmerman in which Butowsky suggests
                        adding Donna Brazile into the Fox News article or doing a separate Donna
                        Brazile article dated May 15, 2017 (BUTOWSKY 0000953-58)

        Exhibit A-27.   Emails between Zimmerman and Greg Wilson in which Zimmerman
                        explains the NSA source is speaking with Butowsky, and Wilson explains
                        why the story is flawed dated May 18-19, 2017 (BUTOWSKY 00001044-
                        45)

        Exhibit A-28.   Declaration of Edward Butowsky, Docket Entry 32-1 in the action
                        Clevenger v. U.S. Dep’t of Justice, et al., Case No. 1:18-cv-1568-LB
                        (E.D.N.Y. Sept. 17, 2019)

        Exhibit A-29.   Emails between Butowsky and Zimmerman in which Butowsky drafts
                        statement for Fox News to issue in response to Rich family’s complaints
                        about the article dated May 19-20, 2017 (BUTOWSKY 0001089-94)

        Exhibit A-30.   Email between Wheeler and Butowsky dated May 20, 2017 in which
                        Wheeler states: “I just noticed ‘my response’ posted on your Facebook
                        page … I never approved of this ‘response.’” (WHEELER 0000419-20)

        Exhibit A-31.   Emails between Butowsky and Admiral James Lyons in which Butowsky
                        asks to write an OpEd for Lyons to submit to the Washington Times dated
                        February 24-25, 2018 (BUTOWSKY 00001132-33)

        Exhibit A-32.   Emails between Butowsky and Admiral James Lyons with draft Butowsky
                        wrote entitled “Open Letter to Attorney General Sessions” dated February
                        26, 2018 (BUTOWSKY 0000370-71)

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        Exhibit A-33.   Emails between Butowsky and Admiral James Lyons in which Lyons says
                        he has made a few changes “because the Times will not print ‘open letters’.
                        I can easily get around that! However, how do I know all those details
                        about the Seth Rich murder…” dated February 26, 2018 (BUTOWSKY
                        0001036-38)

        Exhibit A-34.   Email from Admiral James Lyons to Butowsky asking Butowsky to look
                        at the OpEd now because it will be submitted in the next 30 minutes dated
                        February 28, 2018 (BUTOWSKY 00000835)

        Exhibit A-35.   Emails between Butowsky and Jim Hoft in which Butowsky forwards
                        “proof” that “emails were download[ed] to a thumb drive (Seth rich
                        maybe)” dated February 13, 2019 (BUTOWSKY 0001413)

   Exhibit B    Sally Davis Declaration dated March 13, 2020




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